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         Exhibit D
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                                           **CONFIDENTIAL**

                                SCENARIO PLANNING – IT ENDS WITH US

OBJECTIVE

Protect the reputation of Justin Baldoni, Jamey Heath, and Wayfarer Studios in the lead up, during,
and following the premiere of It Ends with Us, underscore the achievement and efforts of the
Wayfarer team in bringing this movie to life, and emphasize Justin and the studio’s commitment to
their team and making the broader industry a more inclusive space.

OVERVIEW

Though there are several potential scenarios at play here which we should be prepared for, should
BL and her team make her grievances public – via a blatant story or subtle leak. Given she was made
to compromise with the premiere, we feel she will move forward with doing so.

Our recommendation is to get ahead of this narrative, owning any misconceptions and addressing
them head on. Ultimately, we need to be ready to take the air out of any story that does arise, as
well as commentary and/or background narrative BL and her team put together, without being the
louder antagonizer.

The TAG team will continue to media monitor, flag, and respond to any media proactively reaching
out / reporting on the issue and will send regular reports on existing chatter that may arise.
Additionally, our team’s digital experts will continue to monitor and flag any online content related
to the crisis and/or mitigate if false narratives begin in the digital space.

Crisis Mitigation and Rapid Response

    ●   Our team will establish a “rapid response” communication system which keeps Justin,
        Jamey, and Wayfarer Studios abreast of new coverage and narrative trends in real time,
        both in traditional media and social media.
    ●   Alongside Jen Abel and her team, we will manage media inquiries regarding the news on
        background as “sources familiar.”
    ●   Working with legal as appropriate, we will provide information to ensure our narrative is
        properly represented in any and all coverage.
    ●   TAG will confirm outlets intending on covering the story, especially those impactful to Justin,
        Jamey, and Wayfarer’s interests, are fully briefed on the situation including and not limited
        to The Hollywood Reporter, Variety, Deadline, The Wrap, New York Post, Daily Mail, etc.
    ●   We will run real-time media monitoring reports with multiple daily updates on any coverage
        that arises and impact that the PR teams have had on stories.
    ●   Further, we will produce daily sentiment reports which capture the reach and attitude of
        opinions online related to the issue and towards Justin, Jamey, and Wayfarer. These reports
        will also qualify the level of impact these stories have and the gradual decrease in interest
        post-crisis on this narrative.

Preparation Materials:

    ●   Our team will develop clean, topline messaging outlining the facts in conjunction with Jen
        Abel and her team.
    ●   Our team and Wayfarer Studios will discern what assets pertaining to communications,
        schedules, times when BL called out, etc. that we can share for off record and/or for context

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       purposes with journalists.
   ●   Our team and Wayfarer Studios, alongside Jen Abel and team, will catalog third party
       advocates willing to provide a potential quote or engage with reporters on Justin and
       Jamey’s behalf to mitigate negative narratives from a source outside of Wayfarer.
   ●   Our team will collate a list of people who have publicly discussed their positive working
       experience with Justin – examples include Brandon Skylnar / Forbes, Colleen Hoover /
       Entertainment Weekly, etc.

Key Messaging Points:

   ●   JB’s stellar reputation among colleagues and industry peers - numerous quotes and
       interviews sharing positive experiences.
   ●   JB has been a longtime activist and advocate of and for women in Hollywood, speaking out
       about challenges his colleagues faced before the Me Too movement even began (TED 2017).
   ●   The “Man Enough” podcast has been a source of inspiration since it began, fostering a safe,
       encouraging environment for a range of perspectives to meet and discuss gender roles and
       how their rigidity affects everyone.
   ●   While JB and JH attempted to foster a kind, safe, creative environment on set during a
       challenging period in Hollywood – resurgence of COVID-19, the writers strike, the SAG
       AFTRA strike – their efforts were continuously thrown back in their faces.
   ●   Production members lost their jobs due to BL’s takeover and insisted upon involvement –
       including loss of budget due to rescheduling shoot days when BL refused to show up.
   ●   When BL wasn’t able to get her way on set or behind the scenes, she involved her husband
       to create an iImbalance of power between her and JB. RR went so far as to use his power to
       call agents and agencies, Sony, and other key players so that BL would get her way.
   ●   BL’s less than favorable reputation in the industry spans decades and has been reported –
       there were issues on Gossip Girl, the Town, A Simple Favor, and more.
   ●   There is a clear, likely motive due to the film’s value and fanbase, in which BL is attempting
       to bully her way into buying the rights for It Starts With Us.
   ●   Our team will also include additional positive stats re: JB’s career, his accolades, his
       inspiration to take on this project, obstacles he overcame, what’s in store, etc.

IF/THEN PLAN OF ACTION:

Scenario 1: Blake and team push out negative story re: Justin / Wayfarer post-premiere

   ●   Depending upon the scope of her push, we recommend planting a seed earlier on to position
       your truth / narrative around the ordeal in a subtle way to avoid having to backtrack.
   ●   An idea for this, and working alongside Jen, is giving a friendly reporter who is covering the film
       a simple line hinting that while you and Blake didn’t always agree at times “had our differences”
       you have respect for her. This way, if BL stories are softer, we don’t look so aggressive. If it’s a hit
       piece, then we’ve tee’d up reporters properly that there were issues with her. We would also
       ensure the story is broader, about the film, inspiration, etc. so that the line is one part of a larger
       piece.
   ●   If her team is working on a longer lead, negative narrative, we would be given (a short) heads up
       in advance of the story and would, alongside Jen, correct inaccuracies in fact checking, mitigate
       false narratives, and point reporters toward third party advocates who can speak positively on
       your behalf.
   ●   We would then brief people with a more robust version of the facts, executing a background
       approach, using third party advocates, and off record conversations with trusted friendlies to
       depict the truth of the situation. Targets would include popular industry newsletters (targeting
       industry peers, studio execs, investors, etc.) and social media (targeting JB’s fanbase and those of

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        the novel/film) as well as trades / mainstream entertainment. Background information would
        include:
            ○ Background briefing would clarify any misconceptions, what was taken out of context,
                 and what can be chalked up to simple misunderstanding or miscommunication.
            ○ Background briefing would highlight JB, JH, and Wayfarer’s side of the story, what their
                 truth is as it pertains to any allegations or negativity, facts based on the timeline, and
                 issues they experienced on their end e.g. lost days of shooting, consistently adhering to
                 demands, etc.
            ○ Background briefing would include the fact that production members lost their jobs due
                 to her involvement / takeover.
            ○ Background briefing would include the numerous articles, interviews, and quotes of past
                 colleagues who openly love working with Justin, and pointing to BL’s less than favorable
                 reputation of her twenty-year career.
            ○ Background briefing would include pointing people to positive commentary, quotes,
                 interviews from colleagues and peers of Justin praising his work, etc.

Scenario 2: Blake subtly hints at her “experience” in post-premiere coverage, either in an interview, op
ed, or otherwise.

    ●   Our prediction is that should BL address her “experience” on set in upcoming press, she will not
        name you directly but rather pepper in “easter eggs” alluding to your involvement, being
        mindful not to completely jeopardize her potential involvement with the film’s sequel, while still
        planting seeds of doubt and speculation – especially amongst the passionate fan base.
    ●   BL and her team have already begun to plant seeds around this, in insisting promotion be kept
        separate. Fans have already begun to speculate on socials that something is amiss.
    ●   These pieces will likely come out following any potential hit piece and/or coverage from the
        premiere. Our recommended approach would be to provide reporters who reach out for
        comment, should it be obvious she’s referring to you, with the appropriate background
        information (listed in Scenario 1) to ensure their stories are balanced and the speculation can be
        turned to another one of the many people she’s had issues working with (Leighton Meester,
        Anna Kendrick, Ben Affleck, etc.).
    ●   Additionally, we would advise taking further ownership of this narrative as an emerging director,
        lessons learned managing different egos, being the subject to an imbalance of power and/or
        navigating Hollywood, remaining dedicated throughout more challenging processes to protect
        the crew and production members, etc. – remaining strong but not specific or combative.
    ●   This messaging can be woven into more positive press about the film, placed by Jen and team,
        so that you stay on the high road while sharing your truth in a respectful way. A subtle way to do
        this is to address some of the issues you faced on your podcast, and open the floor to discuss
        ways in which imbalances of Hollywood still need to be addressed, how teams can create safe
        environments for all cast and production members on set, etc.

Scenario 3: Ryan comes forward in defense of his wife

    ●   Should Ryan come forward in defense of his wife, we would advise against any direct
        engagement, statement, etc.
    ●   Inquiring reporters, and those in need of updating, would be given a pre-approved line of
        background, attributed to source, implying his lack of connection or involvement with the
        making of the film and that this is another imbalance of power and attempt to strongarm
        production by major A-list stars.
    ●   Our team would also suggest (and will work with Jen Abel and her team on this) placing
        proactive interviews for Justin around the movie’s debut, to speak to his experiences directing,
        what it’s like to produce, direct and star in a movie, the difference between being in charge and

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    being one of the cast, “lessons learned” from his experience as a director on this film and others,
    and what’s to come in the IEWU universe.
●   This will get ahead of any potential negative news placed by BL and/or her team, and seed doubt
    should BL or RR come forward with negative messaging.
●   As part of this, our team can also explore planting stories about the weaponization of feminism
    and how people in BL’s circle like Taylor Swift, have been accused of utilizing these tactics to
    “bully” into getting what they want.




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